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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                     DEFENDANTS LAMP CAPITAL LLC, INFINITY TREASURY
                                                                               MANAGEMENT INC., HUDSON DIAMOND NY LLC, HUDSON
LUC A. DESPINS, CHAPTER 11                                                     DIAMOND HOLDING LLC, LEADING SHINE NY LTD., MEI GUO, AND
TRUSTEE                                                                        YANPING, A/K/A “YVETTE”, WANG,

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Paul Hastings LLP, 200 Park Avenue, New York, NY 10166
Tel: 318-6000, Attn: Douglass Barron                                              See Schedule 1

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □x Other
□x Trustee                                         □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Declaratory Judgment and Turnover of Lamp Capital’s Assets to Trustee. Declaratory Judgment and Turnover of Ownership of Lamp Capital and/
 or Its Assets to Trustee. Declaratory Judgment and Turnover of Hudson Diamond NY’s Assets to Trustee. Declaratory Judgment and Turnover of
 Ownership of Hudson Diamond NY and/or Its Assets to Trustee. Declaratory Judgment and Turnover of Leading Shine NY’s Assets to Trustee.
 Declaratory Judgment and Turnover of Ownership of Leading Shine NY and/or Its Assets to Trustee.
                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□x 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □ 71-Injunctive relief – imposition of stay
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
    31-Approval of sale of property of estate and of a co-owner - §363(h)       □ 72-Injunctive relief – other
□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □x 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)

x□ Check if this case involves a substantive issue of state law                 □ Check if this is asserted to be a class action under FRCP 23
 □ Check if a jury trial is demanded in complaint                               Demand $
 Other Relief Sought
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              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                Ho Wan Kwok                                      22-50073
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
  Connecticut                                                          Bridgeport                       Julie A. Manning
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)



   /s/ Douglass Barron

DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

   10/26/2023                                                          Douglass Barron


                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                                     SCHEDULE 1


Attorney for Hudson Diamond Entities and Mei Guo
c/o Aaron A. Romney
Zeisler & Zeisler, P.C.
10 Middle Street, 15th Floor
Bridgeport, CT 06604
Tel: 203-368-4234

Attorney for Yvette Wang
c/o Alex Lipman
Lipman Law PLLC
147 W. 25th St.
12th Fl
New York, New York 10001
Tel: 212-401-0070

c/o Emil Bove
Blanche Law PLLC
99 Wall Street
Suite 4460
New York, NY 10005
Tel: 212-716-1250
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                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF CONNECTICUT
                                         BRIDGEPORT DIVISION
---------------------------------------------------------------- x
                                                                 :
In re:                                                           : Chapter 11
                                                                 :
HO WAN KWOK, et al.,1                                            : Case No. 22-50073 (JAM)
                                                                 :
                                 Debtors.                        : (Jointly Administered)
                                                                 :
---------------------------------------------------------------- x
                                                                 :
LUC A. DESPINS, CHAPTER 11                                       :
TRUSTEE,                                                         :
                                                                 : Adv. Proceeding No. [           ]
                                 Plaintiff,                      :
v.                                                               :
                                                                 :
                                                                 :
LAMP CAPITAL LLC, INFINITY TREASURY                              :
MANAGEMENT INC., HUDSON DIAMOND NY :
LLC, HUDSON DIAMOND HOLDING LLC,                                 :
LEADING SHINE NY LTD., MEI GUO, AND                              :
YANPING, A/K/A “YVETTE”, WANG,                                   :
                                                                 :
                                 Defendants.                     :
---------------------------------------------------------------- x

        COMPLAINT OF CHAPTER 11 TRUSTEE FOR ESTATE OF HO WAN KWOK
     PURSUANT TO SECTIONS 541, 542, AND 544 OF BANKRUPTCY CODE SEEKING
    (I) DECLARATORY JUDGMENT THAT EACH OF LAMP CAPITAL LLC, HUDSON
    DIAMOND NY LLC, AND LEADING SHINE NY LTD. IS ALTER EGO OF DEBTOR,
                         AND (II) RELATED RELIEF

         Luc A. Despins, in his capacity as the chapter 11 trustee (the “Trustee”) appointed in the

chapter 11 case (the “Chapter 11 Case”) of Ho Wan Kwok (the “Debtor” or “Kwok”), files this




1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
     Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
     mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
     Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
     Wan Kwok (solely for purposes of notices and communications).
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adversary complaint (the “Complaint”) against defendants: (a) Lamp Capital LLC (“Lamp

Capital”), (b) Infinity Treasury Management Inc. (“Infinity Treasury Management”), (c) Hudson

Diamond NY LLC (“Hudson Diamond NY”), (d) Hudson Diamond Holding LLC (“Hudson

Diamond Holding”), (e) Leading Shine NY Ltd. (“Leading Shine NY”), (f) Mei Guo, and (g)

Yvette Wang (together with Lamp Capital, Infinity Treasury Management, Hudson Diamond

NY, Hudson Diamond Holding, Leading Shine NY, and Mei Guo, the “Defendants”). In support

of this Complaint, the Trustee states as follows:


                                     NATURE OF ACTION

       1.      The Debtor’s pervasive use of shell companies to conceal his business dealings

and hide his valuable assets from his creditors has been well-chronicled in these chapter 11

cases. This Complaint relates to the Debtor’s use of three entities—Lamp Capital, Hudson

Diamond NY, and Leading Shine NY (together, the “Alter Ego Defendants”)—as his personal

slush funds to move millions between various shell companies and to pay his personal expenses,

including his legal fees. The Trustee seeks a ruling that the Alter Ego Defendants are the

Debtor’s alter egos and that the Debtor equitably owns the Alter Ego Defendants and their assets.

       2.      Despite the Debtor’s efforts to distance himself from the Alter Ego Defendants on

paper, the Debtor dominated and controlled the Alter Ego Defendants and their assets at all

relevant times. Among other things, the Alter Ego Defendants were managed by the Debtor

through his agents (including Yvette Wang, Max Krasner, and/or Daniel Podhaskie), were

funded by other entities controlled by the Debtor, and were used to funnel money to other Debtor

shell companies and family members and to pay a variety of the Debtor’s personal expenses. In

addition, one of the Alter Ego Defendants, Hudson Diamond NY, helped fund the purchase of



                                                    2
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the Debtor’s real property that he owned through Greenwich Land LLC. This entity also, upon

information and belief, owned at least one of the Debtor’s luxury vehicles.

       3.      The Debtor has not denied these allegations. Rather, when asked about his

ownership and control over the Alter Ego Defendants, the Debtor asserted the Fifth Amendment,

refusing to answer the Trustee’s questions. The Court can and should draw a negative inference

against the Defendants from this testimony.

       4.      Based on these and the other facts set forth below, the Trustee seeks a ruling

pursuant to sections 541, 542, and 544 of the Bankruptcy Code declaring that (i) each of Lamp

Capital, Hudson Diamond NY, and Leading Shine NY is an alter ego of the Debtor, and (ii) each

of Lamp Capital, Hudson Diamond NY, and Leading Shine NY and/or their assets are equitably

owned by the Debtor.

                                JURISDICTION AND VENUE

       5.      This Court has subject matter jurisdiction over this adversary proceeding pursuant

to 28 U.S.C. §1334(b).

       6.      This adversary proceeding has been referred to this Court pursuant to 28 U.S.C.

§157(a). Venue is appropriate in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        THE PARTIES

       7.      The Trustee is the chapter 11 trustee in the Chapter 11 Case pursuant to the

Court’s order entered on July 8, 2022 [Main Case Docket No. 523].

       8.      Lamp Capital is a Delaware limited liability company.

       9.      Infinity Treasury Management Inc. is a Delaware corporation that is the purported

sole member of Lamp Capital.

       10.     Hudson Diamond NY is a New York limited liability company.


                                                3
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           11.      Hudson Diamond Holding is a Delaware limited liability company that is the

purported sole member of Hudson Diamond NY.2

           12.      Leading Shine NY is a Delaware corporation.

           13.      Mei Guo is the Debtor’s daughter. She has asserted that she is the beneficial

owner of Leading Shine NY. She is also the purported sole member of Hudson Diamond

Holding.

           14.      Yvette Wang is the Debtor’s close associate and alleged co-conspirator in the

criminal action pending against the Debtor and Ms. Wang in New York federal court. Ms. Wang

has asserted that she is the beneficial owner of Leading Shine NY.

                                                   FACTS

      I.         Background: Debtor’s Prolific Use of Shell Companies

           15.      As the Court is by now well aware, the Debtor is a prolific user of shell

companies, purportedly owned by family members or business subordinates, to shield his assets

and activities from creditors. The Debtor’s “shell game” has allowed him to continue to deny

ownership of assets, refuse to pay debts, and—until his recent arrest by the FBI—live a life of

luxury. Indeed, in addition to the Alter Ego Defendants, the Court is already familiar with

numerous of these entities, including:

                 a. HK International Funds Investments (USA) Limited, LLC (“HK USA”),
                    purportedly owned by the Debtor’s daughter, Mei Guo and used by the Debtor to
                    hold title to the Lady May yacht, which this Court and Justice Ostrager ruled was




2
    In June 2023, Hudson Diamond NY’s counsel Aaron Romney of Zeisler & Zeisler P.C. filed a motion to
    withdraw as counsel to Hudson Diamond NY, claiming to be unsure who the ultimate beneficial owner of the
    company was, despite corporate documents showing that Hudson Diamond NY’s purported sole member was
    Hudson Diamond Holding and that Hudson Diamond Holding’s purported sole member was Mei Guo, which
    motion was denied [Main Case Docket No. 2220]. In the court’s decision denying withdrawal, the Court noted,
    among other things, that the exhibits presented by the Trustee “seem to confirm that Ms. Guo had authority to
    retain [Attorney Romney] and Attorney Vartan because HD Holding is the sole member of HD NY.” Id. at 5.
                                                       4
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                beneficially owned by the Debtor.3 The Court also ruled HK USA to be the
                Debtor’s alter ego.4

            b. Greenwich Land, LLC (“Greenwich Land”), purportedly owned by the
               Debtor’s wife, and used by the Debtor to hold title to the Debtor’s mansion in
               Greenwich, Connecticut.5

            c. Whitecroft Shore Limited and Anton Development Limited, entities
               purportedly owned by Mei Guo and used by the Debtor to hold title to the
               Debtor’s Bombardier Global XRS private jet.6

            d. HCHK Technologies, Inc., HCHK Property Management, Inc., and
               Lexington Property, Inc. (collectively, the “HCHK Entities”), each of which is
               purportedly owned (a) 99.9999% by a British Virgin Islands (“BVI”) company
               purportedly owned by the Debtor’s personal assistant, Yvette Wang and (b)
               0.0001% by a long-time employee of the Debtor, Anthony DiBattista.7 The
               HCHK Entities were used by the Debtor to, among other things, run his media
               operations and hold title to significant assets, including over $38 million in cash.

            e. Taurus Fund, LLC, purportedly managed by the Debtor’s bodyguard and
               chauffer, Scott Barnett, and used by the Debtor to hold title to his mansion in
               Mahwah, New Jersey.8


3
    Supplemental Memorandum of Decision in Support of Oral Ruling Granting Motion for Partial Summary
    Judgment, at 31 (Adv. Proc. No. 22-05003, Mar. 30, 2023) [Docket No. 177] (“the issue of the Individual
    Debtor’s beneficial ownership and control of the Lady May is decisive as to the First Counterclaim and the
    identical issue was necessarily decided by Justice Ostrager in the Final Contempt Decision, which found by
    clear and convincing evidence that the Individual Debtor beneficially owned and controlled the Lady May”).
4
    Memorandum of Decision and Order Granting Motion for Partial Summary Judgment on Second Counterclaim,
    at 35 (Adv. Proc. No. 22-05003, May 18, 2023) [Docket No. 221] (“HK USA is the alter ego of the Individual
    Debtor.”).
5
    The Trustee has sought an alter ego judgment against this entity in adversary proceeding 23-05005, in
    connection with which the Court entered a prejudgment remedy and temporary restraining order against
    Greenwich Land LLC and the Debtor’s wife. See Order Granting in Part Ex Parte Motion for Temporary
    Restraining Order and Preliminary Injunction (Adv. Proc. No. 23-05005, Mar. 28, 2023) [Docket No. 14];
    Order Granting Chapter 11 Trustee's Amended Application for Ex Parte Prejudgment Remedy (Adv. Proc. No.
    23-05005, Mar. 28, 2023) [Docket No. 15].
6
    These two companies, along with other companies purportedly owned by Mei Guo, are subjects of adversary
    proceeding 23-05008. See Complaint of Chapter 11 Trustee for Estate of Ho Wan Kwok for (I) Declaratory
    Judgment, Pursuant to Sections 541, 542, and 544 of the Bankruptcy Code and Bankruptcy Rule 7001, that
    Property Held by Mei Guo Is Property of Estate and (II) Related Relief (Adv. Proc. No. 23-05008, May 16,
    2023) [Docket No. 1].
7
    The Trustee has sought an alter ego judgment against these entities in adversary proceeding 23-05013, in
    connection with which the Court entered a temporary restraining order on June 12, 2023. See Order Granting
    in Part Emergency Ex Parte Motion for Temporary Restraining Order and Preliminary Injunction (Adv. Proc.
    No. 23-05013, June 12, 2023) [Docket No. 18].
8
    The Trustee has sought an alter ego judgment against Taurus Fund LLC in adversary proceeding 23-05017, in
    connection with which the Court entered a preliminary injunction order on August 24, 2023. See Memorandum
    of Decision and Order Granting in Part Motion for Preliminary Injunction (Adv. Proc. No. 23-05017, August
    24, 2023) [Docket No. 47].
                                                      5
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               f. Ace Decade Limited (“Ace Decade”), which this Court found was beneficially
                  owned by the Debtor.9 The Court also found that the Debtor controlled and
                  employed Ace Decade’s nominee owner, Yvette Wang.10 The Trustee has since
                  learned that Yvette Wang, while the Ace Decade proceedings were ongoing (but
                  after the Court found, on November 17, 2022, that the Debtor exclusively
                  beneficially owned and controlled Ace Decade as of the February 15, 2022
                  petition date11), transferred the stock of Ace Decade that she nominally owned to
                  an individual located in Switzerland (who, upon information and belief, is another
                  associate of the Debtor).

               g. Golden Spring (New York) Ltd. (“Golden Spring”), which is the Debtor’s
                  family office purportedly owned by the Debtor’s son. Golden Spring was, among
                  other things, funded by the Debtor, used by the Debtor to hold his assets and pay
                  his expenses, and managed and staffed by the Debtor’s employees.12

               h. Gettr, GFashion, GMusic, GClubs, GNews, and GEdu (the “G-Series
                  Entities”), New Federal State of China (“NFSC”), and Rule of Law
                  Foundation (“ROLF”), as well as other purportedly independent entities and
                  organizations, which this Court found were controlled by the Debtor,13 led by the
                  Debtor,14 and/or served “the purposes of . . . and as business vehicles of” the
                  Debtor.15 The Court also found that the members of these entities and
                  organizations were “personally loyal to the Debtor.”16

         16.      These entities are the tip of the iceberg. According to the United States

Government, the Debtor and his co-defendants William Je and Yvette Wang “utilized more than




9
     Order Granting Motion to Hold Debtor in Contempt of Corporate Governance Order ¶ 1 (Jan. 24, 2023) [Main
     Case Docket No. 1372] (the “Corp. Governance Contempt Order”).
10
     Corp. Governance Contempt Order ¶ 4.
11
     See Order Regarding Partial Resolution of Trustee’s Contempt Motion ¶ 1 (Nov. 17, 2022) [Main Case Docket
     No. 1110].
12
     The Trustee has sought an alter ego judgment against Golden Spring in adversary proceeding 23-05018, in
     connection with which the clerk of the court has entered defaults against Golden Spring, see Entry of Default
     (Adv. Proc. No. 23-05018, Sept. 20, 2023) [Docket No. 17], and against its purported parent company China
     Golden Spring Group (Hong Kong) Limited. See Entry of Default (Adv. Proc. No. 23-05018, Oct. 17, 2023)
     [Docket No. 20].
13
     Corrected Memorandum of Decision Granting in Part Motion for Preliminary Injunction ¶ 3 (Adv. Proc. No.
     22-05032, Jan. 13, 2023 (“The Debtor also controls Saraca Media Group and a related entity ‘GTV’”).
14
     Id. ¶ 7 (“The Debtor is the leader of The Whistleblower Movement, NFSC, ROLF, and Himalaya.”).
15
     Id. (“The Whistleblower Movement, NFSC, ROLF, GSeries, and Himalaya serve the purposes of the Debtor,
     serve as business vehicles for the Debtor, and their members are personally loyal to the Debtor.”).
16
     Id.
                                                        6
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 approximately 500 accounts held in the names of at least 80 different entities or individuals to

 launder more than $1 billion in fraud proceeds.”17

            17.      In sum, while this Complaint focuses on Lamp Capital, Hudson Diamond NY,

 and Leading Shine NY, the context regarding the Debtor’s wide-ranging strategy of using shell

 companies to shield assets from creditors is highly relevant. The Trustee reserves his rights to

 pursue additional actions against other entities at the appropriate time.

  II.       Lamp Capital Is Alter Ego of and Equitably Owned by Debtor

                  A. Lamp Capital Formed by Debtor Through His Counsel

            18.      Lamp Capital was formed in Delaware on September 4, 2020,18 and registered to

 do business in New York on September 14, of 2020.19 Lamp Capital’s sole member is Infinity

 Treasury Management, of which Qiang Guo, the Debtor’s son, is the purported sole

 shareholder.20

            19.      The Debtor’s counsel who assisted the Debtor in forming Lamp Capital was

 Hodgson Russ LLP (“Hodgson Russ”). Valerie Stevens, a partner at Hodgson Russ, signed

 Lamp Capital’s certificate of formation as “Organizer.”21 Hodgson Russ also handled corporate

 filings related to Lamp Capital’s authorization to do business in New York state.22




 17
        See Memorandum of Law of the United States of America in Opposition to Defendant Yanping Wang’s Motion
        for Pretrial Release (the “USAO Memorandum”), at 29, attached as Exhibit B in the Reply of Chapter 11
        Trustee to G Club Operations LLC’s Supplemental Objection to Trustee’s Motion to Compel and Request for
        Related Relief (the “G-Club Reply”) (June 23, 2023) [Main Case Docket No. 1934].
 18
        Ex. 1, Certificate of Formation of Lamp Capital LLC, attached as Ex. B to the Affidavit of Bernardo Enriquez
        in Support of Non-Party Lamp Capital’s Motion to Quash or Modify, Pacific Alliance Asia Opportunity Fund
        L.P. v. Kwok et al., Index No. 652077/2017, NYSCEF Doc. No. 936, Nov 5, 2021 (the “Enriquez Affidavit”).
 19
        Ex. 2, Application for Authority of Lamp Capital LLC, dated Sept. 11, 2020, filed with the State of New York,
        attached as Ex. C to Enríquez Affidavit.
 20
        Ex. 3, Limited Liability Company Agreement of Lamp Capital LLC, attached as Ex. D to Enriquez Affidavit.
 21
        Ex. 1, Certificate of Formation of Lamp Capital LLC.
 22
        Ex. 2, Application for Authority of Lamp Capital LLC.
                                                            7
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 properties such as the Sherry-Netherland apartment.”30 Apart from her role at Hudson Diamond

 NY, Ms. Wang has also served the Debtor in numerous other roles, including as an officer and/or

 authorized signatory of Golden Spring, Greenwich Land, Leading Shine NY, Saraca, GTV

 Media Group, Inc., Ace Decade Limited, and Genever Holdings LLC.31 Ms. Wang was widely

 known to be the Debtor’s personal assistant. When asked at his deposition whether Ms. Wang

 was his employee, the Debtor asserted his Fifth Amendment rights.32

          25.      On March 15, 2023, Ms. Wang was arrested in connection with charges that she

 had, among other things, conspired with the Debtor in connection with his alleged criminal fraud

 and money-laundering activities. According to the U.S. Government, Ms. Wang played an

 “instrumental role” in the Debtor’s fraud scheme as his “trusted chief of staff who is tasked with

 managing operations at even those entities with which she has no formal affiliation.”33

                C. Lamp Capital Funded by Debtor

          26.      Upon information and belief, at all relevant times, Lamp Capital has been funded

 entirely by the Debtor through entities he controls and would have had no capitalization absent

 such funding.



 30
      Corp. Governance Contempt Order ¶ 4.
 31
      Ex. 21, Affidavit of Yan Ping Wang ¶ 1, PAX v. Kwok, Index No. 652077/2017 (N.Y. Sup. Ct. May 15, 2018)
      [Docket No. 182] (“I am the President of Golden Spring (New York) Ltd., and in that capacity serve as an
      administrator for the interests of [the Debtor] and his family.”); Ex. 15, Hudson Diamond Holding LLC,
      Consent of Sole Member Without a Meeting, dated July 17, 2019 (rendering Ms. Wang signatory); Ex. 22,
                                                                           Ex. 23, Himalaya Coin Certificate of
      Assumed Name, dated March 14, 2020; Ex. 24, Himalaya Dollar Certificate of Assumed Name, dated March
      14, 2020; Ex. 25, Complaint ¶ 9a, United States v. Wang, No. 1:23-mj-02007-UA (S.D.N.Y. Mar. 10, 2023)
      [Docket No. 1] (“Wang was an Executive Director of GTV”); Ex. 84, Particular of Claims, Kwok Ho Wan &
      Ors. v. UBS, Cl-2020-000345, at 38, High Court of Justice of England and Wales Queen’s Bench Division
      Commercial Court, dated September 23, 2020 (“UK Complaint”) (signed by Yvette Wang on behalf of Ace
      Decade); Debtor’s Declaration Pursuant to Local Bankruptcy Rule 1007-2 ¶ 1, (Case No. 22-50592, Oct. 12,
      2020) [Docket No. 1]; Ex. 14, Greenwich Land, LLC, Consent of Sole Member Without a Meeting, dated
      January 19, 2021.
 32
      Ex. 13, Kwok Dep. Tr., at 33:11-13.
 33
      Ex. 26, United States Letter in Opposition to Yvette Wang’s Motion for Bond, at 18, U.S. v. Yanping Wang,
      a/k/a “Yvette,” (Mar. 29, 2023) [Case No. 1:23-cr-00118-AT, Docket No. 10].
                                                        10
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 USA,42 GTV Media Group, Inc.,43 Saraca,44 Hudson Diamond Holding,45 Hudson Diamond NY

 LLC,46 and Rule of Law Foundation.47

                E. Debtor Used Lamp Capital to Pay His Expenses

          29.      The Debtor used Lamp Capital to pay his expenses. In fact, Lamp Capital was a

 critical part of the Debtor’s arrangement for living a life of luxury while at the same time

 asserting that he was effectively judgment proof, as exemplified by the Schedules of Assets and

 Liabilities filed in this Chapter 11 Case, where the Debtor claimed to hold assets of $3,850.00.48

 The examples of Lamp Capital functioning in this way are legion. Among others:

                a. Lamp Capital paid the $1 million retainer of the Debtor’s initial bankruptcy
                   counsel, Brown Rudnick LLP (“Brown Rudnick”).49

                b. Lamp Capital paid numerous of the Debtor’s legal fees and expenses associated
                   with litigation involving the Debtor, including to the Debtor’s law firms such as
                   Lawall & Mitchell, LLC, The Casper Firm, The Francis Firm PLLC, Baker
                   Hostetler LLP, Hodgson Russ, Schulman Bhattacharya LLC, and Ganfer Shore
                   Leeds & Zauderer LLP, and Clayman & Rosenberg LLP.50 Lamp Capital has

 42
      Ex. 28, Limited Liability Company Agreement of HK International Funds Investments (USA) Limited, LLC,
      dated April 1, 2019.
 43
      Ex. 29, OpenGovNY New York State corporate registry search results registration search results for GTV
      Media Group Inc.
 44
      Ex. 30, Saraca Media Group Inc. OpenGovNY New York State corporate registry search results.
 45
      Ex. 31, Hudson Diamond NY LLC fact sheet from Hodgson Russ (showing 162 E 64th St. as LLC address).
 46
      Id. (showing 162 E 64th St. as Hudson Diamond Holding address).
 47
      Ex. 32, CHAR 500 Form of Rule of Law Society IV, Inc.
 48
      See Official Form 106, at 5 (Mar. 9, 2022) [Main Case Docket No. 78].
 49
      This payment was made using the proceeds of a purported $1 million loan from Lamp Capital to the Debtor that
      were remitted directly from Lamp Capital to Brown Rudnick. See Application of the Debtor for Entry of an
      Order Authorizing the Employment and Retention of Brown Rudnick LLP as Counsel for the Debtor ¶ 17, [Main
      Case Docket No. 86]; Ex. 46, Tr. of Telephonic 341 Meeting of Creditors, dated April 6, 2022 at 49: 22-24. At
      his April 6, 2022 Section 341 meeting, the Debtor testified that this loan was not in writing and that he did not
      know the terms of the loan, why the money had been lent, or what the source of the money was. Id. at 49-51.
 50
      See e.g., Ex. 56, check from Lamp Capital to U.S. Legal Support, Inc. on January 12, 2022; Ex. 94, check from
      Lamp Capital to The Francis Firm PLLC on January 11 2022; Ex. 95, check from Lamp Capital to Schuman
      Bhattacharya, LLC on November 17, 2021; Ex. 96, check from Lamp Capital to The Casper Firm on January
      26, 2022; Ex. 97, check from Lamp Capital to Ganfer Shore Leeds & Zauderer LLP on October 13, 2021; Ex.
      98, check from Lamp Capital to Roy D. Simmon on October 28, 2021; Ex. 99, check from Lamp Capital to
      Veritext on October 13, 2021; Ex 100, check from Lamp Capital to Baker Hostetler LLP on December 27,
      2021; Ex. 101, check from Lamp Capital to Lawall & Mitchell on November 17, 2021; Ex. 102, check from
      Lamp Capital to Clayman & Rosenberg LLP on January 11, 2022; Ex. 103, check from Lamp Capital to
      Hodgson Russ on November 12, 2021; Ex. 104, check from Lamp Capital to William Bradley Wendel on
      November 10, 2021.
                                                          12
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                   also made numerous payments of the Debtor’s fees owed to other providers of
                   legal or expert witness services such as Veritext, US Legal Support Inc., Roy D.
                   Simon, and William Bradley Wendel.51

                c. Lamp Capital paid expenses associated with the Debtor’s yacht, the Lady May,52
                   as well as the maintenance fees associated with the Sherry Netherland
                   Apartment.53 Lamp Capital has also made numerous payments to ACASS
                   Canada Ltd., Wings Insurance Agency Inc., and SAAM Verspieren Group,54 in
                   connection with the operation and maintenance of the Debtor’s private jet, the
                   Bombardier Global XRS (which is subject to another adversary proceeding filed
                   by the Trustee against Mei Guo).

                d. Lamp Capital made multiple transfers to the Bento for Business accounts of
                   Debtor-controlled companies,55 from which pre-paid Bento debit cards were
                   issued to the Debtor’s family members and associates and used on spending to
                   support the Debtor’s luxurious lifestyle.56

                e. Lamp Capital has paid the Mar-a-Lago Club on behalf of the Debtor in
                   connection with the membership there held in his name.57

                F. Lamp Capital Had No Business Other Than to Hold Debtor’s Property
                   and/or Pay His Expenses

          30.      As discussed further herein, Lamp Capital’s only documented activities consisted

 of holding the Debtor’s assets and paying his expenses. Lamp Capital did nothing other than


 51
      Id. Upon information and belief, Lamp Capital paid certain of these legal fees pursuant to purported litigation
      funding agreements under which no proceeds of successful litigation by the Debtor would have ever become the
      Debtor’s property, but would instead be paid directly to Golden Spring.
 52
      Ex. 65 (showing a transfer of approximately $290,000 to Yachtzoo Yacht Management LLC on November 18,
      2021); Ex. 66 (showing an approximately $245,000 transfer to Yachtzoo on January 26, 2022); Ex. 70, Lamp
      Capital Dime Bank account statement for February 2022 (showing a transfer of approximately $460,000 to
      Yachtzoo on February 23, 2022); and Ex. 68 (showing a transfer of $272, 525 to Moran Yacht Management Inc.
      on October 29, 2020).
 53
      See e.g., Ex. 75, a check from Lamp Capital’s account at Dime Bank to the Sherry-Netherland Inc. on March 3,
      2022 for $2,020.71.
 54
      See e.g., Ex. 71, Lamp Capital Dime Bank March 2022 statement (showing a transfer of approximately $18,000
      to Wings Insurance Agency on March 3, 2022, and $46,880 to SAAM Verspieren Group on March 10, 2020).
      Ex., 72, Lamp Capital Dime Bank account statement for account ending 6250 for January 2022 (showing a
      transfer of $117,428.82 to ACASS Canada Ltd.); Ex. 73, Lamp Capital Dime Bank account statement for
      account ending 6250 for November 2021 (showing two transfers of approximately $615,000 to ACASS Canada
      Ltd.)
 55
      See e.g., Ex. 72 (showing three transfers to Bento for a total of $150,000); Ex. 73 (showing two transfers of a
      total of $10,000 transfer to Bento)
 56
      See Memorandum of Law in Support of Motion of Chapter 11 Trustee for Estate of Ho Wan Kwok for Summary
      Judgment with Respect to Alter Ego and Equitable Ownership Claims ¶¶ 7-12, in the adversary proceeding
      against Greenwich Land and Hing Chi Ngok [Adv. Proc. No. 23-05005, Doc No. 78].
 57
      See e.g., Ex. 74, a check from Lamp Capital’s account at Dime Bank to the Mar-a-lago Club on December 6,
      2021 for $300 on behalf of the Debtor (memo of the check identifies the Debtor with a member ID).
                                                         13
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 receive funding from other Debtor-controlled companies, hold cash in bank accounts, and pay

 for the Debtor’s expenses.58

                G. Debtor Asserted Fifth Amendment Regarding Control Over Lamp Capital

          31.      The Debtor has asserted the Fifth Amendment on multiple occasions when

 questioned regarding his control over Lamp Capital. At his March 2, 2023 deposition, the

 Debtor invoked the Fifth Amendment when asked:

                a. whether he was the equitable owner of Lamp Capital;

                b. whether he was the beneficial owner of Lamp Capital;

                c. whether he had exclusive control over Lamp Capital; and

                d. whether he had exclusive control over the assets of Lamp Capital.59

          32.      In the Debtor’s sworn declaration dated May 11, 2023, the Debtor again invoked

 the Fifth Amendment when asked whether he controlled Lamp Capital. 60

          33.      Similarly, the Debtor asserted the Fifth Amendment regarding his control over the

 parent company of Lamp Capital, Infinity Treasury Management.61

 III.     Hudson Diamond NY Is Alter Ego of and Equitably Owned by Debtor

                A. Hudson Diamond NY Formed by Debtor Through Debtor’s Counsel
                                                                                                 62
          34.




 58
      Lamp Capital failed to produce any documents in connection with Rule 2004 discovery and, on April 26, 2023,
      this Court found Lamp Capital to be in civil contempt of Court for failing to comply with or respond to the
      Trustee’s Rule 2004 discovery subpoenas [Main Case Docket No. 1709]. Given Lamp Capital’s non-
      compliance with its discovery obligations, the Trustee is unable at this time to determine with precision the
      value of Lamp Capital’s assets, and the Trustee’s investigation remains ongoing.
 59
      See Ex. 13, Kwok Dep. Tr., at 27:22-28:3, 28:10-29:20.
 60
      See Ex. 33, Debtor’s Sworn Declaration Regarding Responses to Particular Questions, ¶ 154.
 61
      Ex. 13, Kwok Depo. Tr., at 54:4-13,
 62
      See Ex. 34,
                                                         14
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 USA,78 GTV Media Group, Inc.,79 Saraca,80 Hudson Diamond Holding,81 Lamp Capital,82 and

 Rule of Law Foundation.83

                D. Debtor Used Hudson Diamond NY for His Real Estate Transactions

          43.      Hudson Diamond NY was created by the Debtor to acquire real property. To that

 end, the law firm of Whitman, Breed, Abbott & Morgan LLC (“Whitman Breed”) was engaged

 by Hodgson Russ to represent Hudson Diamond NY, as well as Greenwich Land LLC, in

 connection with the Debtor’s purchase or contemplated purchase of real estate in Connecticut.84

          44.      Whitman Breed partner Margaret Conboy has testified, among other things, that

 as part of her representation of Hudson Diamond NY and Greenwich Land, she referred to the

 Debtor as her client,85 received instructions from Max Krasner,86 and was advised on multiple

 occasions that the Debtor was making decisions,87 including as to the acceptance of offers,88 the

 selection of furniture,89 and whether to move forward on any potential property purchase.90

          45.      The Debtor has used Hudson Diamond NY to fund real estate purchases under the

 name of his shell company, Greenwich Land, purportedly held in the name of the Debtor’s wife,



 78
      Ex. 28, Limited Liability Company Agreement of HK International Funds Investments (USA) Limited, LLC,
      dated April 1, 2019.
 79
      Ex. 29, OpenGovNY New York State corporate registry search results registration search results for GTV
      Media Group Inc.
 80
      Ex. 30, Saraca Media Group Inc. OpenGovNY New York State corporate registry search results.
 81
      Ex. 42,
 82
      See e.g., Ex. 69, Lamp Capital’s Certificate of Beneficial Owner(s) at Dime Bank (identifying the physical
      business address of Lamp Capital to be at 162 E 64th Street, New York).
 83
      Ex. 32, CHAR 500 Form of Rule of Law Society IV, Inc.
 84
      Ex. 43,
 85
      Ex. 45, Margaret Conboy Sept. 12, 2023 Depo. Tr. at 33:12-23, 33:25-34:4, and 37:13-38:1. See also Ex. 46,
      and Ex. 77, email between Margaret Conboy and Kevin Walsh on Oct. 3, 2019.
 86
      Id. at 51:16-25, 66:22-25.
 87
      Id., at 51:16-25, 52:19-53:22.
 88
      See e.g., Ex. 46, Email between Margaret Conboy and Robert Mowbray on January 22, 2019.
 89
      See e.g., Ex. 47, Email between Louise Camuto and Yvette Wang, copying Max Krasner, Karin Maistrello, on
      July 12, 2019.
 90
      See, e.g., Ex. 45, Margaret Conboy Sept. 12, 2023 Depo. Tr. at 52:2-10 (“Q. What he's saying specifically to
      you is: I just spoke with Miles, and he advised the team he will not move forward on this property. Do you see
      that? A. Yes. Q. And you understood that Miles is reference to Miles Kwok? A. Yes.”).
                                                          17
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                 J. Leading Shine NY Had No Business Other Than to Hold Debtor’s Property
                    and/or Pay His Expenses

           66.      As discussed further herein, Leading Shine NY’s only documented activities

 consisted of holding the Debtor’s assets and paying his expenses. Leading Shine NY did nothing

 other than receive funding from other Debtor-controlled companies, hold cash in bank accounts,

 and pay for the Debtor’s expenses.145

                 F. Debtor Asserted Fifth Amendment Regarding Control Over Leading Shine
                    NY.

           67.      The Debtor has asserted the Fifth Amendment on multiple occasions when

 questioned regarding his control over Leading Shine NY. During his March 2, 2023 deposition,

 when asked whether he controlled and owned Leading Shine NY, the Debtor invoked the Fifth

 Amendment.146

           68.      In the Debtor’s sworn declaration dated May 11, 2023, the Debtor again invoked

 the Fifth Amendment when asked whether he controlled Leading Shine NY.147

                                                  FIRST CLAIM

        (Declaratory Judgment that Lamp Capital is the Debtor’s Alter Ego and Ordering
                        Turnover of Lamp Capital’s Assets to Trustee)148

           69.      The Trustee repeats and realleges the allegations contained in paragraphs 1-68.




 145
       Leading Shine NY failed to respond to or produce any documents in connection with Trustee’s Rule 2004
       discovery subpoenas. Given Leading Shine NY’s non-compliance with its discovery obligations, the Trustee is
       unable at this time to determine with precision the value of Leading Shine NY’s assets and the Trustee’s
       investigation remains ongoing.
 146
       See Ex. 13, Kwok Dep. Tr., at 49:15-50:22.
 147
       Ex. 33, Debtor’s Sworn Declaration Regarding Responses to Particular Questions, ¶ 158.
 148
       This claim seeks relief only with respect to defendants Lamp Capital and/or its purported sole member, Infinity
       Treasury Management, as applicable.
                                                           25
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           70.      Delaware law applies to this alter ego claim because Lamp Capital is a Delaware

 entity.149

           71.      Under Delaware’s two-pronged test for piercing the corporate veil, a court

 applying Delaware’s alter ego analysis to the Debtor’s relationship with Lamp Capital will focus

 on (1) whether the Debtor and Lamp Capital operated as a single economic unit and (2) whether

 there was an overall element of injustice or unfairness. In determining whether the Debtor and

 Lamp Capital operated as a single economic unit, a court applying Delaware law would consider

 a number of factors, including, among others, whether Lamp Capital was adequately capitalized,

 observed corporate formalities, and was a facade for the Debtor.150 This “list of factors is not

 exhaustive and no single factor is dispositive.”151

           72.      The Debtor exercised control and dominion over Lamp Capital such that Lamp

 Capital had no independent existence from the Debtor and the Debtor used the corporate form to

 perpetrate a fraud and injustice. Lamp Capital is an alter ego of the Debtor, because, among

 other reasons:

                        a. Lamp Capital was formed by the Debtor through his counsel.

                        b. Lamp Capital was managed by the Debtor through his agents.

                        c. Lamp Capital was funded by the Debtor.

                        d. Lamp Capital used same address as other Debtor shell companies.

                        e. The Debtor used Lamp Capital to pay his expenses.


 149
       See, e.g., Universitas Education, LLC v. Benistar, No. 3:20-cv-00738 (JAM), 2021 WL 965794, at *7 (D. Conn.
       Mar. 15, 2021) (“[B]ecause [defendant] is incorporated in Delaware, I must apply Delaware law to decide if it
       may be subject to an alter ego claim for reverse veil piercing liability.”).
 150
       Blair v. Infineon Tech., AG, 720 F. Supp.2d 462, 470-71 (D. Del. 2010) (Noting the factors that the Third
       Circuit considers in determining whether a corporation operated as a single economic entity, which notably
       would not include whether the relevant individual is a shareholder of the entity, but would include “gross
       undercapitalization; failure to observe corporate formalities . . . [and] whether the corporation is merely a
       facade.”).
 151
       Id. at 471.
                                                         26
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                         f. Lamp Capital had no business other than to hold the Debtor’s property
                            and/or pay his expenses.

                         g. The Debtor asserted the Fifth Amendment regarding his control over
                            Lamp Capital.

           73.      At all relevant times, the Debtor was indebted to one or more creditors. Such

 creditors could have pursued the relief sought herein by the Trustee in exercise of such creditors’

 rights.

           74.      Accordingly, the Trustee seeks a ruling pursuant to sections 541, 542, and 544 of

 the Bankruptcy Code, (1) declaring that: (a) at all times Lamp Capital was an alter ego of the

 Debtor; (b) any and all of the assets held by Lamp Capital at any time prior to the Debtor’s

 petition date of February 15, 2022 constituted property of the Debtor; and (c) any and all assets

 held by Lamp Capital at any time from the date of the Debtor’s February 15, 2022 chapter 11

 petition to the present, constituted and constitute, as applicable, property of the Debtor’s chapter

 11 estate; and (2) ordering the turnover of any and all of the assets of Lamp Capital to the

 Trustee.

                                                  SECOND CLAIM

 (Declaratory Judgment that Debtor Is Equitable Owner of Lamp Capital and/or Its Assets
   and Ordering Turnover of Ownership of Lamp Capital and/or Its Assets to Trustee)152

           75.      The Trustee repeats and realleges the allegations contained in paragraphs 1-68.

           76.      The same facts, discussed above, establishing that Lamp Capital is an alter ego of

 the Debtor, also support the conclusion that the Debtor is the equitable owner of Lamp Capital

 and/or its assets.153


 152
       This claim seeks relief only with respect to defendants Lamp Capital and/or its purported sole member, Infinity
       Treasury Management, as applicable.
 153
       Freeman v. Complex Computing Co., Inc., 119 F.3d 1044, 1051 (2d Cir. 1997) (defendant that “exercised
       considerable authority over [the corporation] . . . to the point of completely disregarding the corporate form and
       acting as though [its] assets were his alone to manage.”) (emphasis added).
                                                            27
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           77.      At all relevant times, the Debtor was indebted to one or more creditors. Such

 creditors could have pursued the relief sought herein by the Trustee in exercise of such creditors’

 rights.

           78.      Because Lamp Capital was equitably owned by the Debtor, the ownership and

 corporate control rights over Lamp Capital, and/or the assets of Lamp Capital, were, following

 the Petition Date, property of the Estate.

           79.      Accordingly, the Trustee seeks a ruling, pursuant to sections 541, 542, and 544 of

 the Bankruptcy Code, (1) declaring that the ownership interests in Lamp Capital purportedly held

 by Infinity Treasury Management, and/or the assets of Lamp Capital, are property of the

 Debtor’s chapter 11 estate; and (2) ordering the surrender of ownership interests and related

 rights of corporate control in Lamp Capital, and/or the assets of Lamp Capital, to the Trustee.

                                                 THIRD CLAIM

  (Declaratory Judgment that Hudson Diamond NY is the Debtor’s Alter Ego and Ordering
                  Turnover of Hudson Diamond NY’s Assets to Trustee)154

           80.      The Trustee repeats and realleges the allegations contained in paragraphs 1-68.

           81.      New York law applies to this alter ego claim because Hudson Diamond NY is a

 New York entity.155

           82.      Under New York law, a party seeking an alter ego ruling must show “(1) the

 alleged alter ego ‘exercised complete domination over the corporation with respect to the

 transaction at issue; and (2) such domination was used to commit a fraud or wrong that injured

 the party seeking to pierce the corporate veil.’” Sentry Ins. v. Brand Mgmt. Inc., 120 F. Supp. 3d


 154
       This claim seeks relief only with respect to defendants Hudson Diamond NY and/or its purported sole member,
       Hudson Diamond Holding, as applicable.
 155
       See, e.g., Universitas Education, LLC v. Benistar, No. 3:20-cv-00738 (JAM), 2021 WL 965794, at *7 (D. Conn.
       Mar. 15, 2021) (“[B]ecause [defendant] is incorporated in Delaware, I must apply Delaware law to decide if it
       may be subject to an alter ego claim for reverse veil piercing liability.”).
                                                         28
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 277, 286 (E.D.N.Y. 2015), aff'd sub nom. Sentry Ins. a Mut. Co. v. Weber, 720 F. App'x 639 (2d

 Cir. 2017) (quoting Liberty Synergistics, Inc. v. Microflo Ltd., 50 F.Supp.3d 267, 296

 (E.D.N.Y.2014)). The domination referenced in the first prong is determined based on

 considering ten equitable factors.

        (1) the absence of formalities and paraphernalia that are part and parcel of the
        corporate existence, i.e., issuance of stock, election of directors, keeping of
        corporate records and the like, (2) inadequate capitalization, (3) whether funds are
        put in and taken out of the corporation for personal rather than corporate
        purposes, (4) overlap in ownership, officers, directors, and personnel, (5) common
        office space, address and telephone numbers of corporate entities, (6) the amount
        of business discretion displayed by the allegedly dominated corporation, (7)
        whether the related corporations deal with the dominated corporation at arm['s]
        length, (8) whether the corporations are treated as independent profit centers, (9)
        the payment or guarantee of debts of the dominated corporation by other
        corporations in the group, and (10) whether the corporation in question had
        property that was used by other of the corporations as if it were its own.

        83.     Id. (quoting Liberty Synergistics, Inc. v. Microflo Ltd., 50 F.Supp.3d 267, 296

 (E.D.N.Y.2014)). Assuming domination can be established, to recover, a plaintiff must then

 show “(1) ‘the existence of a wrongful or unjust act toward that party,’ and (2) that ‘the act

 caused the party's harm.’” Id. (quoting Liberty Synergistics, Inc. v. Microflo Ltd., 50 F.Supp.3d

 267, 297 (E.D.N.Y.2014)).

        84.     Here, the facts demonstrate that Hudson Diamond NY was the Debtor’s alter ego

 under New York law, among other things:

                    a. Hudson Diamond NY was formed by the Debtor through his counsel.

                    b. Hudson Diamond NY was managed by the Debtor through his agents.

                    c. Hudson Diamond NY was funded by the Debtor.

                    d. Hudson Diamond NY used same address as other Debtor shell companies.

                    e. The Debtor used Hudson Diamond NY to transfer money to other Debtor
                       shell companies and family members.


                                                  29
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                        f. Hudson Diamond NY had no business other than to hold the Debtor’s
                           property and/or pay his expenses.

                        g. The Debtor and Mei Guo asserted the Fifth Amendment regarding control
                           over Hudson Diamond NY.

           85.     At all relevant times, the Debtor was indebted to one or more creditors. Such

 creditors could have pursued the relief sought herein by the Trustee in exercise of such creditors’

 rights.

           86.     Accordingly, the Trustee seeks a ruling pursuant to sections 541, 542, and 544 of

 the Bankruptcy Code, (1) declaring that: (a) at all times Hudson Diamond NY was an alter ego of

 the Debtor; (b) any and all of the assets held by Hudson Diamond NY at any time prior to the

 Debtor’s petition date of February 15, 2022 constituted property of the Debtor; and (c) any and

 all assets held by Hudson Diamond NY at any time from the date of the Debtor’s February 15,

 2022 chapter 11 petition to the present, constituted and constitute, as applicable, property of the

 Debtor’s chapter 11 estate; and (2) ordering the turnover of any and all of the assets of Hudson

 Diamond NY to the Trustee.

                                               FOURTH CLAIM

 (Declaratory Judgment that Debtor Is Equitable Owner of Hudson Diamond NY and/or Its
  Assets and Ordering Turnover of Ownership of Hudson Diamond NY and/or Its Assets to
                                       Trustee)156

           87.     The Trustee repeats and realleges the allegations contained in paragraphs 1-68.




 156
       This claim seeks relief only with respect to defendants Hudson Diamond NY and/or its purported sole member,
       Hudson Diamond Holding, as applicable.
                                                         30
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            88.      The same facts, discussed above, establishing that Hudson Diamond NY is an

 alter ego of the Debtor, also support the conclusion that the Debtor is the equitable owner of

 Hudson Diamond NY and/or its assets.157

            89.      At all relevant times, the Debtor was indebted to one or more creditors. Such

 creditors could have pursued the relief sought herein by the Trustee in exercise of such creditors’

 rights.

            90.      Because Hudson Diamond NY was equitably owned by the Debtor, the ownership

 and corporate control rights over Hudson Diamond NY, and/or the assets of Hudson Diamond

 NY, were, following the Petition Date, property of the Estate.

            91.      Accordingly, the Trustee seeks a ruling, pursuant to sections 541, 542, and 544 of

 the Bankruptcy Code, (1) declaring that the ownership interests in Hudson Diamond NY

 purportedly held by Hudson Diamond Holding, and/or the assets of Hudson Diamond NY, are

 property of the Debtor’s chapter 11 estate; and (2) ordering the surrender of ownership interests

 and related rights of corporate control in Hudson Diamond NY, and/or the assets of Hudson

 Diamond NY, to the Trustee.

                                                    FIFTH CLAIM

       (Declaratory Judgment that Leading Shine NY is the Debtor’s Alter Ego and Ordering
                       Turnover of Leading Shine NY’s Assets to Trustee)158

            92.      The Trustee repeats and realleges the allegations contained in paragraphs 1-68.




 157
        Freeman v. Complex Computing Co., Inc., 119 F.3d 1044, 1051 (2d Cir. 1997) (defendant that “exercised
        considerable authority over [the corporation] . . . to the point of completely disregarding the corporate form and
        acting as though [its] assets were his alone to manage.”) (emphasis added).
 158
        This claim seeks relief only with respect to defendants Leading Shine NY and/or its purported sole member,
        Mei Guo or Yvette Wang, as applicable.
                                                             31
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           93.      Delaware law applies to this alter ego claim because Leading Shine NY is a

 Delaware entity.159

           94.      Under Delaware’s two-pronged test for piercing the corporate veil, a court

 applying Delaware’s alter ego analysis to the Debtor’s relationship with Leading Shine NY will

 focus on (1) whether the Debtor and Leading Shine NY operated as a single economic unit and

 (2) whether there was an overall element of injustice or unfairness. In determining whether the

 Debtor and Leading Shine NY operated as a single economic unit, a court applying Delaware

 law would consider a number of factors, including, among others, whether Leading Shine NY

 was adequately capitalized, observed corporate formalities, and was a facade for the Debtor.160

 This “list of factors is not exhaustive and no single factor is dispositive.”161

           95.      The Debtor exercised control and dominion over Leading Shine NY such that

 Leading Shine NY had no independent existence from the Debtor and the Debtor used the

 corporate form to perpetrate a fraud and injustice. Leading Shine NY is an alter ego of the

 Debtor, because, among other reasons:

                        a. Leading Shine NY was managed by the Debtor through his agents.

                        b. Leading Shine NY was funded by the Debtor.

                        c. Leading Shine NY used same address as other Debtor shell companies.

                        d. Debtor used Leading Shine NY to transfer money to other Debtor shell
                           companies.

                        e. The Debtor used Leading Shine NY to pay his expenses.
 159
       See, e.g., Universitas Education, LLC v. Benistar, No. 3:20-cv-00738 (JAM), 2021 WL 965794, at *7 (D. Conn.
       Mar. 15, 2021) (“[B]ecause [defendant] is incorporated in Delaware, I must apply Delaware law to decide if it
       may be subject to an alter ego claim for reverse veil piercing liability.”).
 160
       Blair v. Infineon Tech., AG, 720 F. Supp.2d 462, 470-71 (D. Del. 2010) (Noting the factors that the Third
       Circuit considers in determining whether a corporation operated as a single economic entity, which notably
       would not include whether the relevant individual is a shareholder of the entity, but would include “gross
       undercapitalization; failure to observe corporate formalities . . . [and] whether the corporation is merely a
       facade.”).
 161
       Id. at 471.
                                                         32
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                        f. Leading Shine NY had no business other than to hold the Debtor’s
                           property and/or pay his expenses.

                        g. The Debtor asserted the Fifth Amendment regarding his control over
                           Leading Shine NY.

           96.      At all relevant times, the Debtor was indebted to one or more creditors. Such

 creditors could have pursued the relief sought herein by the Trustee in exercise of such creditors’

 rights.

           97.      Accordingly, the Trustee seeks a ruling pursuant to sections 541, 542, and 544 of

 the Bankruptcy Code, (1) declaring that: (a) at all times Leading Shine NY was an alter ego of

 the Debtor; (b) any and all of the assets held by Leading Shine NY at any time prior to the

 Debtor’s petition date of February 15, 2022 constituted property of the Debtor; and (c) any and

 all assets held by Leading Shine NY at any time from the date of the Debtor’s February 15, 2022

 chapter 11 petition to the present, constituted and constitute, as applicable, property of the

 Debtor’s chapter 11 estate; and (2) ordering the turnover of any and all of the assets of Leading

 Shine NY to the Trustee.

                                                 SIXTH CLAIM

   (Declaratory Judgment that Debtor Is Equitable Owner of Leading Shine NY and/or Its
    Assets and Ordering Turnover of Ownership of Leading Shine NY and/or Its Assets to
                                        Trustee)162

           98.      The Trustee repeats and realleges the allegations contained in paragraphs 1-68.




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       This claim seeks relief only with respect to defendants Leading Shine NY and/or its purported sole member,
       Mei Guo or Yvette Wang, as applicable.
                                                          33
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           99.      The same facts, discussed above, establishing that Leading Shine NY is an alter

 ego of the Debtor, also support the conclusion that the Debtor is the equitable owner of Leading

 Shine NY and/or its assets.163

           100.     At all relevant times, the Debtor was indebted to one or more creditors. Such

 creditors could have pursued the relief sought herein by the Trustee in exercise of such creditors’

 rights.

           101.     Because Leading Shine NY was equitably owned by the Debtor, the ownership

 and corporate control rights over Leading Shine NY, and/or the assets of Leading Shine NY,

 were, following the Petition Date, property of the estate.

           102.     Accordingly, the Trustee seeks a ruling, pursuant to sections 541, 542, and 544 of

 the Bankruptcy Code, (1) declaring that the ownership interests in Leading Shine NY

 purportedly held by Mei Guo or Yvette Wang, and/or the assets of Leading Shine NY, are

 property of the Debtor’s chapter 11 estate; and (2) ordering the surrender of ownership interests

 and related rights of corporate control in Leading Shine NY, and/or the assets of Leading Shine

 NY, to the Trustee.

                                                  PRAYER FOR RELIEF

           WHEREFORE, for the foregoing reasons, the Trustee respectfully requests that judgment

 be entered as follows:

           1.       On the First Claim, an order, pursuant to sections 541, 542, and 544 of the

           Bankruptcy Code, (1) declaring that: (a) at all times Lamp Capital was an alter ego of the

           Debtor; (b) any and all of the assets held by Lamp Capital any time prior to the Debtor’s



 163
       Freeman v. Complex Computing Co., Inc., 119 F.3d 1044, 1051 (2d Cir. 1997) (defendant that “exercised
       considerable authority over [the corporation] . . . to the point of completely disregarding the corporate form and
       acting as though [its] assets were his alone to manage.”) (emphasis added).
                                                            34
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      petition date of February 15, 2022 constituted property of the Debtor; and (c) any and all

      assets held by Lamp Capital at any time from the date of the Debtor’s February 15, 2022

      chapter 11 petition to the present, constituted and constitute, as applicable, property of the

      Debtor’s chapter 11 estate; and (2) ordering the turnover of any and all of the assets of

      Lamp Capital to the Trustee;

      2.     On the Second Claim, an order, pursuant to sections 541, 542, and 544 of the

      Bankruptcy Code, (1) declaring that the ownership interests in Lamp Capital purportedly

      held by Infinity Treasury Management and/or the assets of Lamp Capital, are property of

      the Debtor’s chapter 11 estate; and (2) ordering the surrender of ownership interests and

      related rights of corporate control in Lamp Capital, and/or the assets of Lamp Capital, to

      the Trustee;

      3.     On the Third Claim, an order, pursuant to sections 541, 542, and 544 of the

      Bankruptcy Code, (1) declaring that: (a) at all times Hudson Diamond NY was an alter

      ego of the Debtor; (b) any and all of the assets held by Hudson Diamond NY any time

      prior to the Debtor’s petition date of February 15, 2022 constituted property of the

      Debtor; and (c) any and all assets held by Hudson Diamond NY at any time from the date

      of the Debtor’s February 15, 2022 chapter 11 petition to the present, constituted and

      constitute, as applicable, property of the Debtor’s chapter 11 estate; and (2) ordering the

      turnover of any and all of the assets of Hudson Diamond NY to the Trustee;

      4.     On the Fourth Claim, an order, pursuant to sections 541, 542, and 544 of the

      Bankruptcy Code, (1) declaring that the ownership interests in Hudson Diamond NY

      purportedly held by Hudson Diamond Holding, and/or the assets of Hudson Diamond

      NY, are property of the Debtor’s chapter 11 estate; and (2) ordering the surrender of

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      ownership interests and related rights of corporate control in Hudson Diamond NY,

      and/or the assets of Hudson Diamond NY, to the Trustee;

      5.     On the Fifth Claim, an order, pursuant to sections 541, 542, and 544 of the

      Bankruptcy Code, (1) declaring that: (a) at all times Leading Shine NY was an alter ego

      of the Debtor; (b) any and all of the assets held by Leading Shine NY any time prior to

      the Debtor’s petition date of February 15, 2022 constituted property of the Debtor; and

      (c) any and all assets held by Leading Shine NY at any time from the date of the Debtor’s

      February 15, 2022 chapter 11 petition to the present, constituted and constitute, as

      applicable, property of the Debtor’s chapter 11 estate; and (2) ordering the turnover of

      any and all of the assets of Leading Shine NY to the Trustee;

      6.     On the Sixth Claim, an order, pursuant to sections 541, 542, and 544 of the

      Bankruptcy Code, (1) declaring that the ownership interests in Leading Shine NY

      purportedly held by Mei Guo or Yvette Wang, and/or the assets of Leading Shine NY,

      are property of the Debtor’s chapter 11 estate; and (2) ordering the surrender of

      ownership interests and related rights of corporate control in Leading Shine NY, and/or

      the assets of Leading Shine NY, to the Trustee;

      7.     Reasonable attorneys’ fees, costs, and expenses incurred in this action; and

      8.     Such other and further relief as the Court may deem just, proper, or equitable

      under the circumstances.

                            [Remainder of Page Intentionally Left Blank]




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 Dated:   October 26, 2023            LUC A. DESPINS,
          New Haven, Connecticut      CHAPTER 11 TRUSTEE

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